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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 06-cr-00217-WYD-01

UNITED STATES OF AMERICA,

      Plaintiff,

v.

1.    MICHAEL ROMERO,

      Defendant.


            GOVERNMENT’S RESPONSE TO PETITION FOR EARLY
        TERMINATION OF SUPERVISED RELEASE (Document Number: 72)


      The United States of America, by and through its undersigned Assistant United

States Attorney for the District of Colorado, hereby responds to the above-captioned

petition stating that the Government has no objection to the relief requested therein.

      Respectfully submitted this 20th day of September, 2011,

                                         JOHN F. WALSH
                                         UNITED STATES ATTORNEY


                                     By: s/ James R. Boma
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of September, 2011, I electronically filed the
foregoing GOVERNMENT’S RESPONSE TO PETITION FOR EARLY TERMINATION
OF SUPERVISED RELEASE with the Clerk of the Court using the CM/ECF system
which will send notification of such filing to the following e-mail address:

       Harvey Abe Steinberg
       law@springersteinberg.com


       I also certify that I sent the foregoing via email to the following:

       Robert Haberman
       U.S. Probation Officer
       robert_haberman@cod.uscourts.gov



                                                   s/ Andrea K. Hough
                                                   ANDREA K. HOUGH
                                                   Office of the United States Attorney




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